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                               EXHIBIT 1
                      TO PROPOSED ORDER:


     CLASS AND COLLECTIVE ACTION SETTLEMENT
                   AGREEMENT
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                               x
EDGAR GUEVARA and LORENA M. GUEVARA,
individually and on behalf of all others similarly situated,

                                                    Plaintiffs,
                                                                    Case No. 15-CV-02895 (GRB)
                          - against -

SIROB IMPORTS, INC., NICK BOBORIS and PETER
BOBORIS,

                                                  Defendants.
                                                               ■x




               CLASS AND COLLECTIVE ACTION SETTLEMENT AGREEMENT

        This Class and Collective Action Settlement Agreement (“Agreement”) is made by and
between (1) Edgar Guevara and Lorena M. Guevara, individually and on behalf of the Rule 23
Class and Opt-In Plaintiffs (as hereinafter defined), and (2) Sirob Imports, Inc., Nick
Boboris and Peter Boboris, on their own behalf, and on behalf of their present and former
directors, officers, trustees, partners, representatives, agents, owners, managers, parent and
subsidiary companies, successors, heirs, assigns, executors, administrators, insurers, and
attorneys (“Defendants” or “Releasees”), to voluntarily and completely settle and resolve all
issues involved in the above-captioned matter (the “Lawsuit” or the “Litigation”) and the wage and
hour claims that were or could have been asserted by the parties to this Agreement.

1.     DEFINITIONS

        1.1.   Named Plaintiffs.        “Named Plaintiffs” means Edgar Guevara and Lorena M.
               Guevara.

        1.2.   Rule 23 Class. “Rule 23 Class” or “Class” means all nonexempt and/or hourly
               employees, other than managers, corporate officers, and directors who performed
               work for Sirob Imports, Inc. at any time during the period from May 19, 2009 until
               October 19,2019.

        1.3.   Class Member. “Class Member” means any member of the Rule 23 Class.

        1.4.   Opt-In Plaintiff. “Opt-In Plaintiff’ is any member of the Rule 23 Class who deposits
               or cashes a Settlement Check.
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      1.13.   Qualified Settlement Fund. “Qualified Settlement Fund” or “QSF” means an
              account established by the Settlement Claims Administrator for the Gross
              Settlement Amount paid by the Defendants. The QSF will be controlled by the
              Settlement Claims Administrator subject to the terms of this Agreement and the
              Court’s Preliminary Approval Order and Final Approval Order. Interest, if any,
              earned on the QSF will become part of the Settlement Amount.
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2.    DUTIES OF CLAIMS ADMINISTRATOR. The Settlement Claims Administrator will be
      responsible for: (1) preparing, printing and disseminating to Class Members the Notice;
      (2) performing a skip trace and resending any Notice returned without a forwarding
      address, or resending to those with a new forwarding address; (3) responding to inquiries
      from respective parties regarding requests or communications made by the Parties; (4)
      monitoring and maintaining a telephone number with telephone answerers until the
      Effective Date; (5) promptly furnishing to counsel for the Parties copies of any opt-out
      requests, objections or other written or electronic communications from Class Members
      that the Settlement Claims Administrator receives; (6) keeping track of requests for
      exclusion or objection, including maintaining the original envelope in which the request
      or objection was mailed; (7) calculating and determining each of the Class Members’
      proportionate share of the Net Settlement Fund in accordance with the formula specified
      in Section 4.7 of this Agreement; (8) distributing the Settlement Checks to Class
      Members, (9) paying Court Approved Service Awards and/or Court-approved Costs and
      Fees, as necessary and pursuant to the terms of this Agreement; (10) preparing, sending
      and/or wire-transferring Class Counsel’s Court-approved attorneys’ fees, expenses, and
      costs; (11) mailing the Service Award and Settlement Checks in accordance with this
      Agreement and the Final Approval Order; (12) issuing the IRS Form 1099s, to the extent
      required, for all amounts paid from the Gross Settlement Amount; (13) responding to
      inquiries of Class Members regarding procedures for filing objections and Opt-out
      Statements; (14) referring to Class Counsel all inquiries by Class Members regarding
      matters not within the Settlement Claim Administrator’s duties specified herein; (15)
      responding to inquiries of counsel for the Parties relating to the Settlement Claims
      Administrator’s duties specified herein; (16) promptly apprising counsel for the Parties of
      the activities of the Settlement Claims Administrator; (17) maintaining adequate records
      of its activities, including, the costs and fees it incurs with respect to the QSF, the dates of
      the mailing of Notices, returned mail and any and all other actual or attempted written or
      electronic communications with Class Members; (18) keeping accurate time and expense
      records relating to the administration of the settlement; (19) timely responding to
      communications from the Parties and their counsel; (20) preparing a declaration
      regarding its due diligence, costs, and fees incurred in the claims administration process;
      (21) providing images of the Settlement Checks signed by the Opt-In Plaintiffs to
      Defendants’ Counsel and Class Counsel; (22) providing proof of payment of the Service
      Awards to Defendants’ Counsel and Class Counsel; (23) confirming in writing to counsel
      for the Parties and the Court its completion of the administration of the settlement; and
      (24) such other tasks as the Parties mutually agree.

3.    SETTLEMENT APPROVAL AND CLASS NOTICE PROCEDURE

      3.1.   Motion for Preliminary Approval. Within 14 days after this Agreement is fully-
             executed by the appropriate Parties, or such earlier date as may be required by the
             Court, Class Counsel shall file with the Court a Motion for Preliminary Approval of
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             the Settlement and the authorization to distribute the proposed Notice of Class and
             Collective Action Settlement and Fairness Hearing (“Preliminary Approval
             Motion”). A copy of the proposed Order granting Preliminary Approval
             (“Preliminary Approval Order”) is attached to this Agreement as Exhibit A. A copy
             of the proposed Notice of Class and Collective Action Settlement and Fairness
             Hearing is attached to this Agreement as Exhibit B.

      3.2.   Class Notice.

             3.2.1.   Class List. Within 10 days after the Court’s entry on ECF of the Preliminary
                      Approval Order, Defendants’ Counsel shall provide Class Counsel and the
                      Settlement Claims Administrator with an Excel spreadsheet containing the
                      names, addresses, social security numbers, dates of employment, and
                      number of weeks worked between May 19, 2009 and October 19,2019 of the
                      Named Plaintiffs and Rule 23 Class Members.

             3.2.2. Mailing. Within 10 days after receiving the class list, the Settlement Claims
                    Administrator shall mail to the Class, the Court-approved Notice of Class
                    and Collective Action Settlement and Fairness Hearing in English and
                    Spanish.

             3.2.3.   Skip Trace and Re-mailing. The Settlement Claims Administrator shall
                      notify Defendants’ Counsel and Class Counsel within five (5) days if a Notice
                      is returned as undeliverable. Within (5) days of receiving notice that the
                      mailing was returned as undeliverable, Defendants shall furnish to the
                      Claims Administrator and Class Counsel a copy of the documents from the
                      Class Member’s employee file used to populate the class list. The Settlement
                      Claims Administrator will verify the mailing address from the employee
                      records and if necessary, take reasonable steps to obtain a current address,
                      including one (1) skip trace and a review of the National Change of Address
                      (NCOA) database, and shall re-mail the Notice. The Settlement Claims
                      Administrator shall also mail a Notice to any Class Member who so requests
                      after the initial mailing of the Notice.

      3.3.   Rule 23 Class Member Opt-outs.

             3.3.1. Any Class Member who chooses to opt-out of the settlement must mail a
                    written and signed Opt-Out Statement to the Settlement Claims
                    Administrator. To be effective, (1) the Opt-out Statement must state: “I
                    opt-out of the Sirob Imports class action settlement;” (2) the Opt-out
                    Statement must include the name, address, telephone number and
                    signature of the person opting-out of the settlement; and (3) the Opt-out
                    Statement must be postmarked within thirty (30) days from the date of
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                    mailing of the Notice to the Class Member.

             3.3.2. Any Rule 23 Class Member whose first mailing is returned to the
                    Settlement Claims Administrator as undeliverable will be permitted to
                    opt-out of or object to the proposed settlement for up to thirty (30) days
                    from the date of the second mailing, but no later than at least 14 days
                    before the Fairness Hearing.

             3.3.3. Any Rule 23 Class Member who does not properly submit an Opt-out
                    Statement pursuant to this Agreement, will be deemed to have accepted
                    the settlement and the terms of this Agreement and will be issued a
                    Settlement Check.

      3.4.   Objections.

             3.4.1. Any Class Member who wishes to present an objection to the proposed
                    settlement at the Fairness Hearing must first do so in a written statement
                    (“Written Objection”). To be considered, the Written Objection must be
                    mailed to the Settlement Claims Administrator so that it is received by the
                    Settlement Claims Administrator no later than thirty (30) days after the
                    mailing of the Notice to the Class Member, but no later than at least 14
                    days before the Fairness Hearing. The Written Objection must include: (1)
                    the words, “I object to the Sirob Imports class action settlement”; (2) all
                    reasons for the objection, (3) the name, address, and telephone number of
                    the Rule 23 Class Member making the objection, and (4) if the objector
                    received any assistance in preparing the objection, the name, address and
                    telephone number of each individual who assisted the objector in
                    preparing the objection. The Settlement Claims Administrator will stamp
                    the date received on the original objection and send copies of each Written
                    Objection to Class Counsel and Defendants’ Counsel by email no later
                    than (1) day after receipt thereof.

             3.4.2. An Objector also has the right to appear at the Fairness Hearing either in
                    person or through counsel hired by the Objector. An Objector who wishes
                    to appear at the Fairness Hearing must state his or her intention to do so
                    in writing in his or her written objections at the time he or she submits his
                    or her written objections. An Objector may withdraw his or her objections
                    at any time. No Class Member may present an objection at the Fairness
                    Hearing based on a reason not stated in his or her Written Objections. A
                    Class Member who has submitted an Opt-out Statement may not submit
                    objections to the Settlement or speak at the Fairness Hearing.

             3.4.3. Any Party may file with the Court written responses to any filed objections
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                      no later than seven (7) days before the Fairness Hearing.

      3.5.   Settlement Claims Administrator’s Declaration of Due Diligence. Within 7 days
             after the expiration of the time period to opt-out of the proposed settlement, the
             Settlement Claims Administrator shall provide to Defendants’ Counsel and Class
             Counsel a declaration of due diligence regarding its activities and the discharge of its
             duties under Section 3.1 herein.

      3.6.   Motion for Final Approval. At least 7 days prior to the Fairness Hearing, Class
             Counsel shall file with the Court a Motion for Final Approval of the Settlement
             (“Final Approval Motion”).

4.    FINANCIAL TERMS

      4.1.   Settlement Amount. Defendants agree to pay a maximum amount of One Million
             Two Hundred Thousand Dollars and Zero Cents ($1,200,000.00). Defendants will
             not be required to pay more than One Million Two Hundred Thousand Dollars and
             Zero Cents ($1,200,000.00) under the terms of this Agreement.

      4.2.   Funding the OSF. By no later than five (5) business days after the Effective Date,
             Defendants shall deposit into the QSF the total gross sum of One Million Two
             Hundred Thousand Dollars and Zero Cents ($1,200,000.00). Any interest accrued
             from the QSF shall immediately be added to and become part of the Gross
             Settlement Amount.

      4.3.   Payments from the OSF. The Settlement Claims Administrator shall make the
             following payments from the QSF:

             4.3.1. Within ten (10) business days of the QSF being funded as described in
                    Section 4.2, the Settlement Claims Administrator shall (1) mail all
                    Settlement Checks to Class Members, (2) mail any and all Service Awards
                    payable to the Named Plaintiffs to Moser Law Firm, P.C., (3) mail or wire-
                    transfer payment to Class Counsel in the amount of Court-approved
                    attorneys’ fees and costs, and (4) make payments to the Settlement Claims
                    Administrator in the amount of Court-approved Settlement Claims
                    Administrator’s costs and expenses.

             4.3.2.   Class Members will have thirty-five (35) days from the date of mailing to
                      endorse and cash their Settlement Checks (the “Acceptance Period”).
                      Class Members will be informed of the Acceptance Period on the
                      Settlement Checks. The settlement claims administrator will furnish to
                      Class Counsel and Defendants’ Counsel, 10 days after the expiration of the
                      Acceptance Period, all QSF bank reconciliation statements, images of

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                             Class Counsel will apply for a serviced award from the QSF to
            each Named Plaintiff in the amount of $10,000. Defendants will not oppose such
            application.
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                            period between April 9, 2011 until October 19, 2019.

                            The Net Settlement Fund will be divided by the aggregate number
                            of points accrued by all of the Class Members to arrive at a value
                            for each point (“Point Value”)

                            Each Class Member’s total points will be multiplied by the Point
                            Value to determine his or her Individual Settlement Amount.

      4.8.   Taxes.

             4.8.1. Tax Characterization. Settlement Checks to Rule 23 Class Members shall
                    be issued without withholding. The Settlement Claims Administrator
                    shall report to the IRS and Opt-In Plaintiff, to the extent required by law,
                    under the Opt-In Plaintiffs name and social security number (or tax
                    identification number) on an IRS Form 1099. Payments of attorneys’ fees
                    and costs pursuant to section 4.4 and payments of the Settlement Claims
                    Administrator’s fees and costs pursuant to Section 4.5 shall be made
                    without withholding and reported to the IRS and the payee under the
                    payee’s name and taxpayer identification number, which each such payee
                    shall provide for this purpose, on an IRS Form 1099. Service awards
                    payable pursuant to Section 4.6 shall be made without withholding and
                    reported to the IRS and the payee under the payee’s name and social
                    security number (or tax identification number) on an IRS Form 1099.

             4.8.2. Opt-In Plaintiffs’ Responsibility for Taxes. The employee portion of any
                    and all applicable income and payroll taxes will be the sole responsibility
                    of the Opt-In Plaintiff cashing or depositing Settlement Check. By cashing
                    or depositing the check, each Opt-In Plaintiff acknowledges and agrees
                    that he or she will be solely responsible for all taxes due with respect to the
                    settlement payment, other than the employer’s portion of the payroll tax
                    (if any).

             4.8.3. This agreement does not constitute tax advice. Neither Class Counsel
                    nor Defendants’ Counsel intend anything contained herein to
                    constitute legal advice regarding the taxability of any amount paid
                    hereunder, nor will it be relied upon as such.

5.    RELEASE.

      5.1.   Release of Claims by Named Plaintiffs and Rule 23 Class. As of the Effective
             Date, and except as to such rights or claims as may be created expressly in this

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             Agreement, each of the Named Plaintiffs, and each of the Rule 23 Class members
             who does not opt out of the Agreement, forever and fully releases Defendants
             from any and all claims, rights, demands, liabilities, and causes of action of every
             nature and description, whether known or unknown, which he or she now has,
             may have, or ever had, for failure to pay wages, overtime, spread-of-hours
             payments, or any other monies, or with respect to any and all other wage-related
             claims that were asserted, or could have been asserted, either in the Litigation or
             under any state or local wage and hour laws including, but not limited to, the New
             York Labor Law, and any and all rules and regulations issued thereunder, arising
             out of work performed for Sirob Imports, Inc. from the beginning of time to the
             Effective Date of this Agreement, including related claims for penalties, interest,
             liquidated damages, attorneys’ fees, costs, and expenses.

      5.2.   Release of ELSA Claims. In addition to the Release of Claims described in Section
             5.1, each Opt-in Plaintiff forever and fully releases Defendants from any and all
             claims, rights, demands, liabilities, and causes of action of every nature and
             description, whether known or unknown, which he or she now has, may have, or
             ever had, for minimum wages, failure to pay wages, overtime, liquidated damages,
             attorneys’ fees and costs under the Fair Labor Standards Act and any and all rules
             and regulations issued thereunder, arising out of work performed for Sirob Imports,
             Inc. from the beginning of time until the Effective Date of this Agreement.

      5.3.   Inscription on Settlement Check Stubs. All check stubs attached to the Settlement
             Checks sent to Class Members shall contain, the following language:

                    “FINAL RELEASE OF CLAIMS:

                    I understand that I must cash or deposit this check on or before the
                    expiration date printed on the face of the check.

                    I understand that by negotiating, endorsing, depositing, or cashing
                    this check I am unconditionally releasing Sirob Imports, Inc., Nick
                    Boboris, and Peter Boboris, their heirs, administrators,
                    representatives, executors, estates, predecessors, successors, or
                    assigns, for any claims of wage or wage notice violations of the Fair
                    Labor Standards Act or the New York Labor Law, arising out of
                    work performed for Sirob Imports, Inc., from the beginning of the
                    world through [the date of the Final Approval Order].”

      5.4.   Inscription on Face of Settlement Checks. The face of each Settlement Check shall
             indicate the “Valid until” date, which shall be 35 days after the date of mailing.
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      5.5.    Inscription on back of Settlement Checks. The back of all Settlement Checks shall
              contain the following language:

                      “I understand and agree that by negotiating, endorsing, depositing, or
                      cashing this check, I am bound by the FINAL RELEASE OF CLAIMS that
                      is contained on the attached check stub.
                      Dated:__________________,
                      Signature_______________________”

6.    NOTICES. All notices, requests, demands and other communications required or permitted
      to be given pursuant to this Agreement shall be in writing and shall be mailed to the
      undersigned persons and emailed at their respective email addresses set forth herein:

      Class Counsel

             Moser Law Firm, P.C.
             5 East Main Street
             Huntington, NY 11722
             smoser@moseremploymentlaw.com

      Defendants’ Counsel

             Milber Makris Plousadis & Seiden, LLP,
             Attn: Elizabeth R. Gorman, Esq.,
             1000 Woodbury Road, Suite 402,
             Woodbury, New York 11797
             egorman@milbermakris.com

7.    REPRESENTATION BY COUNSEL. All of the Parties acknowledge that they have been
      represented by counsel throughout the negotiations that preceded the execution of this
      Agreement and that this Agreement has been executed with the consent and advice of
      counsel.

8.    NO ADMISSION OF LIABILITY. This Agreement and the settlement are a compromise
      and shall not be construed as an admission of liability at any time or for any purpose, under
      any circumstances, by the Parties to this Agreement. The Defendants vigorously deny
      liability and have agreed to the terms of settlement without, in any way, acknowledging any
      fault or liability, and with the understanding that terms have been reached because this
      settlement will: (i) provide substantial benefits the Defendants, (ii) avoid the further expense
      and disruption of Defendants’ business due to the pendency and expense of litigation, and
      (iii) put the claims in the Litigation finally to rest. Nothing in this Agreement shall be
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      deemed or used as an admission of liability on behalf of the Releasees, or as an admission
      that monies are owed for any purpose other than settlement purposes. No findings with
      respect to any claim or allegation will be made by the Court as part of the approval process.
      The Final Approval Order and Notices will state that Court has not found any Hability or
      any wrongdoing with respect to the allegations and claims in the Litigation.

9.    MODIFICATION OF AGREEMENT. This Agreement may not be modified or amended,
      and no term or provision herein may be waived, except in writing, signed by each of the
      Parties, and as approved by the Court. Any failure by any Party to insist upon the strict
      performance by the other Party of any of the provisions of this Agreement shall not be
      deemed a waiver of future performance of the same provisions or of any of the other
      provisions of this Agreement, and such Party, notwithstanding such failure, shall have the
      right thereafter to insist upon the specific performance of any and all of the provisions of this
      Agreement.

10.   CONSTRUCTION AND INTERPRETATION.

      10.1.   Entire Agreement. This Agreement constitutes the entire agreement between the
              Parties with respect to the subject matter contained in this Agreement and shall
              supersede all prior and contemporaneous negotiations, communications, or writings
              between the Parties. This Agreement shall be construed as a whole according to its
              fair meaning and intent, and not strictly for or against any party, regardless of who
              drafted or who was principally responsible for drafting this Agreement, or any
              specific term or condition.

      10.2.   No Reliance on Representations or Extrinsic Evidence. Except as expressly
              provided in this Agreement, this Agreement has not been executed in reliance upon
              any other oral or written representations or terms, and no such extrinsic oral or
              written representations or terms shall modify, vary or contradict its terms. In
              entering into this Agreement, the Parties agree that this Agreement is to be
              construed according to its terms and may not be varied or contradicted by extrinsic
              evidence.

      10.3.   Controlling Law. This Agreement shall be subject to, governed by, construed,
              enforced and administered in accordance with the laws of the State of New York,
              both in its procedural and substantive aspects, and without regard to principles of
              conflicts of laws, and shall be subject to the continuing and exclusive jurisdiction of
              the United States District Court for the Eastern District of New York.

      10.4.   Severability. If any provision of this Agreement is held by a court of competent
              jurisdiction to be void, voidable, unlawful or unenforceable, the remaining portions
              of this Agreement will remain in full force and effect to the extent that the effect of

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              the Agreement remains materially the same and the obligations of the Parties remain
              materially the same.

11.   COUNTERPARTS. This Agreement, any amendments or modifications to it, and any other
      documents required or contemplated to be executed in order to consummate this
      Agreement, may be executed in one or more counterparts, each of which shall be deemed an
      original of this Agreement. All counterparts of any such document together shall constitute
      one and the same instrument. A photocopy, facsimile, or digital image of an executed
      counterpart shall be enforceable and admissible as an original.

12.   AUTHORITY OF COUNSEL.

      12.1.   Facsimile, Electronic, and Email Signatures. Any Party may execute this
              Agreement by signing or by causing its counsel to sign on the designated signature
              block below and transmitting that signature page via facsimile, email or other
              electronic means to counsel for the other Parties. Any signature made and
              transmitted by facsimile, email, or other electronic means for the purpose of
              executing this Agreement shall be deemed an original signature for purposes of this
              Agreement and shall be binding upon the Party whose counsel transmits the
              signature page by facsimile or email or other electronic means.

      12.2.   Voluntary Signature. All Parties agree that they have signed this Agreement or
              authorized their counsel to sign this Agreement on their behalf, knowingly,
              voluntarily, with full knowledge of its significance, and without coercion. Settlement

13.   EFFECT OF NON-APPROVAL. In the event that this Agreement is not approved by the
      Court for any reason in the form submitted by the Parties, the Parties will attempt to address
      any concerns raised by the Court and resubmit a revised settlement agreement if possible. If
      the Parties cannot agree on a revised settlement agreement, or if the Court denies the
      approval of a renegotiated settlement agreement, this Agreement or the renegotiated
      agreement shall be void ah initio.

14.   COOPERATION BETWEEN THE PARTIES; FURTHER ACTS. The Parties shall
      reasonably cooperate with each other and shall use their reasonable best efforts to obtain
      the Court’s approval of this Agreement and all of its terms. Each party, upon the request
      of any other party, agrees to perform such further acts and to execute and deliver such
      other documents as are reasonably necessary to carry out the provisions of this
      Agreement.


                                          PLAINTIFFS



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                   and transmitted by facsimile, email, or other electronic means for the purpose
                   of executing this Agreement shall be deemed an original signature for purposes
                   of this Agreement and shall be binding upon the Party whose counsel transmits
                   the signature page by facsimile or email or other electronic means.

            12.2. Voluntary Si~ature. All Parties agree that they have signed this Agreement or
                  authorized their counsel to sign this Agreement on their behalf, knowingly,
                  voluntarily, with full knowledge of its significance, and without coercion.
                  Settlement

  13.       EFFECT OF NON-APPROVAL. In the event that this Agreement is not approved by the
            Court for any reason in the form submitted by the Parties, the Parties will attempt to
            address any concerns raised by the Court and resubmit a revised settlement
            agreement if possible. If the Parties cannot agree on a revised settlement agreement,
            or if the Court denies the approval of a renegotiated settlement agreement, this
            Agreement or the renegotiated agreement shall be void ab initio.

  14.       COOPERATION BETWEEN THE PARTIES; FURTHER ACTS. The Parties shall
            reasonably cooperate with each other and shall use their reasonable best efforts to
            obtain the Court's approval of this Agreement and all of its terms. Each party, upon
            the request of any other party, agrees to perform such further acts and to execute
            and deliver such other documents as are reasonably necessary to carry out the
            provisions of this Agreement.


                                             PLAINTIFFS

                                                       Dated: _ _ _ _ _ _ _ _ _ __
  Edgar Guevara

                                                       Dated:_ _ _ _ _ _ _ _ _ __
  Lorena Guevara



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        =      - ~DEFENDANTS:
                           ~                           Dated:~/2~/_/G__,·,,__.//_..._9_ __

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  Nick Boboris
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  Sirobffe'~
        ,                                              Dated:   11/ti }/1
  By: Nick Boboris, President

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                                  PLAINTIFFS

                                                  12/20/2019
Edgar Guevara



Lorena Guevara

                                DEFENDANTS:



Peter Boboris

                                          Dated: __ _ _ _ _ _ _ __ _ _
Nick Boboris

Sirob Imports, Inc.

                                          Dated: _ _ _ _ _ _ _ _ _ __
By: Nick Boboris, President



ATTORNEYS FOR PLAINTIFFS                  ATTORNEYS FOR DEFENDANTS

Dated: _ _ _ _ _ _ __                     Dated: _ _ __ _ _ __
       Glen Cove, NY                            Woodbury, NY

By:                                       By:
       Steven Moser, Esq.                       Elizabeth R. Gorman, Esq.
       Moser Law Firm, P.C.                     Milber Makris Plousadis
       5 East Main Street                       & Seiden, LLP
       Huntington, NY 11722                     1000 Woodbury Road, Suite 402
                                                Woodbury, New York 11797




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                                 PLAINTIFFS

                                          Dated:_ _ _ _ _ _ _ _ _ __
Edgar Guevara



Lo.                                       Dated:_12/20/2019



                                DEFENDANTS:
                                                  _ _ _ _ __ _ _ __




                                          Dated:- - - - - - - - - - -
Peter Boboris

                                          Dated:_ _ _ _ __ _ _ _ __
Nick Boboris

Sirob Imports, Inc.

                                          Dated:- - - - - - - - - - -
By: Nick Boboris, President



ATTORNEYS FOR PLAINTIFFS                  ATTORNEYS FOR DEFENDANTS

Dated: - - - - -- - -                     Dated: _ _ _ _ _ _ __
       Glen Cove, NY                            Woodbury, NY

By:                                       By:
       Steven Moser, Esq.                       Elizabeth R. Gorman, Esq.
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